

Tantalo v Clifton Springs Hosp. &amp; Clinic Found., Inc. (2024 NY Slip Op 01383)





Tantalo v Clifton Springs Hosp. &amp; Clinic Found., Inc.


2024 NY Slip Op 01383


Decided on March 15, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., LINDLEY, OGDEN, NOWAK, AND DELCONTE, JJ.


13 CA 23-01293

[*1]JESSICA TANTALO, AS ADMINISTRATOR OF THE ESTATE OF PATRICK R. BAKER, DECEASED, PLAINTIFF-RESPONDENT,
vCLIFTON SPRINGS HOSPITAL &amp; CLINIC FOUNDATION, INC., DOING BUSINESS AS CLIFTON SPRINGS HOSPITAL &amp; CLINIC, CLIFTON SPRINGS SANITARIUM CO., DOING BUSINESS AS CLIFTON SPRINGS HOSPITAL &amp; CLINIC, ROCHESTER REGIONAL HEALTH, DOING BUSINESS AS CLIFTON SPRINGS HOSPITAL &amp; CLINIC, DEFENDANTS-APPELLANTS, ET AL., DEFENDANTS. (APPEAL NO. 1.) 






OSBORN, REED &amp; BURKE, LLP, ROCHESTER (MICHAEL C. PRETSCH OF COUNSEL), FOR DEFENDANTS-APPELLANTS.
LACY KATZEN LLP, ROCHESTER (JACQUELINE M. THOMAS OF COUNSEL), FOR PLAINTIFF-RESPONDENT.


	Appeal from an order of the Supreme Court, Monroe County (Daniel J. Doyle, J.), entered April 14, 2023. The order, inter alia, granted plaintiff's motion to strike the answer of defendants-appellants. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on March 6, 2024,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: March 15, 2024
Ann Dillon Flynn
Clerk of the Court








